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  8                      IN THE UNITED STATES DISTRICT COURT
  9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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      ARMINDA DIAZ, J.V.H., A MINOR                 Case No. 5:21-cv-00584 JGB (SHKx)
 12   BY AND THROUGH GUARDIAN
      AD LITEM, MELIDA DEL
 13   CARMEN GARCIA,
                                                    ORDER OF DISMISSAL
 14                                   Plaintiffs,
 15                v.
 16
      CALIFORNIA HIGHWAY PATROL
 17   OFFICER ABRAHAM PETERSON
      AND DOES 1 THROUGH 10,
 18   INCLUSIVE,
 19                                 Defendants.
 20
 21
 22                                 ORDER OF DISMISSAL
 23         Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure
 24   41(a)(1)(2), IT IS ORDERED THAT THIS ACTION BE, AND HEREBY IS,
 25   DISMISSED WITH PREJUDICE as to all claims, causes of action, and parties,
 26   ///
 27   ///
 28   ///

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  1   with each party bearing that party’s own attorney’s fees and costs. The Clerk is
  2   directed to close the file.
  3        IT IS SO ORDERED.
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  6   Dated: December 1, 2021
                                                         Honorable Jesus G. Bernal
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